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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES § CIVIL ACTION
CONSOLIDATED LITIGATION § NO. 05-4182 “K"(2)
a. JUDGE DUVAL
b. MAG, WILKINSON
c.
§
§
PERTAINS TO: §
INSURANCE (07-4786) §
Donald Maclies and Betty Maclies v. Allstate §
Insurance Company §
§
ORDER

Considering the above and foregoing Motion to Enroll and Withdraw As Counsel of
Record;

IT IS HEREBY ORDERED that Peyton P. Murphy be hereby permitted to enroll Jeffrey
P. Berniard as counsel of record for plaintiffs, DONALD MACLIES AND BETTY MACLIES,
and Peyton P. Murphy be hereby permitted to withdraw as counsel of record for plaintiffs,
DONALD MACLIES AND BETTY MACLIES.

SIGNED, in , Louisiana, this day of , 2008.

HONORABLE STANLEY DUVAL
JUDGE, EASTERN DISTRICT OF LOUISIANA

TOTAL P.ao4
